Case 1:21-cv-01417-JPM Document 451 Filed 02/09/24 Page 1 of 5 PageID #: 18852




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

QORVO, INC.,                                    )
                                                )
                      Plaintiff,                )
                                                )
       v.                                       )   C.A. No. 21-1417 (JPM)
                                                )
AKOUSTIS TECHNOLOGIES, INC. and                 )   DEMAND FOR JURY TRIAL
AKOUSTIS, INC.,                                 )
                                                )
                      Defendants.               )

                         PLAINTIFF’S MOTION TO EXCLUDE
                       EXPERT TESTIMONY OF CARLYN IRWIN

       Plaintiff Qorvo, Inc. hereby moves to exclude the testimony of Defendants Akoustis

Technologies, Inc. and Akoustis, Inc.’s damages expert, Carlyn Irwin, regarding alleged “costs”

Akoustis “avoided” because it misappropriated Qorvo’s trade secrets. The grounds for this motion

are set forth in Qorvo’s Opening Brief and supporting papers, filed herewith.
Case 1:21-cv-01417-JPM Document 451 Filed 02/09/24 Page 2 of 5 PageID #: 18853




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                                          _____________________________________
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February 9, 2024




                                          2
Case 1:21-cv-01417-JPM Document 451 Filed 02/09/24 Page 3 of 5 PageID #: 18854




                                RULE 7.1.1 CERTIFICATION

       I hereby certify that the foregoing motion has been discussed with counsel for Defendants

and that the parties have not been able to reach agreement.



                                                    /s/ Jeremy A. Tigan

                                                    Jeremy A. Tigan (#5239)
Case 1:21-cv-01417-JPM Document 451 Filed 02/09/24 Page 4 of 5 PageID #: 18855




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

QORVO, INC.,                                   )
                                               )
                         Plaintiff,            )
                                               )
       v.                                      )   C.A. No. 21-1417 (JPM)
                                               )
AKOUSTIS TECHNOLOGIES, INC. and                )   DEMAND FOR JURY TRIAL
AKOUSTIS, INC.,                                )
                                               )
                         Defendants.           )

      [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO EXCLUDE
                  EXPERT TESTIMONY OF CARLYN IRWIN

       Having considered Plaintiff Qorvo, Inc.’s Motion to Exclude Certain Opinions of Carlyn

Irwin, the Court hereby GRANTS the Motion. It is hereby ORDERED that the opinions at issue

contained in Paragraphs 30.d. and 76-85 of Ms. Irwin’s Report, and Ms. Irwin’s testimony relating

thereto, are excluded.



                SO ORDERED this _______ day of ______________________, 2024.




                                                   UNITED STATES DISTRICT JUDGE
Case 1:21-cv-01417-JPM Document 451 Filed 02/09/24 Page 5 of 5 PageID #: 18856




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2024, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

February 9, 2024, upon the following in the manner indicated:

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                                                     /s/ Jeremy A. Tigan

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